EXHIBIT E

 

Kozak, Lauren

From: Kozal<, Lauren

Sent: `|'_uesdey, Novernber '18, 2014 1;39 Plvl
To:

Cc: _

Subject: investigative Report

|mportant:e: l-ligh

Hi ?

After reviewing your requested changes to the investigative repo=rt, we have made some changes to the report Where
the change was just a request for different wording we made the change directly in the main text of the report. Where-
the changes were additional or different information, we added them as a footnote For your reference, i addressed
each of the requests beiow.

On page 5', delete the phrase "he wasn't drunk.” |n its place add: ”He had been drinking, but did not drink to
excess `|'oward the end of the party he was sober, and the next day he remembered the entire nightf'

0 Added the clarifying phrase as a footnote
On page 6, change r’Cornplainant wasn't noticeably drunk" to "Whi|e in his room, Comp|-ainant wasn’t noticeably
drun|s."

o C-hanged
On page 6, delete “While they were in the chairs they talked about having sex."
` o Chang-ed the sentence to read "`whi|e they were in the chairs one of the things they talked about was

having sex,”

Fieverse the order of the sentence on page 6 for accuracy. Instead of ”She gave him oral sex and he gave her
oral se)t‘” lt should read ”l-ie gave her oral sex, and then she gave him oral se)<."

o Changed
On page 6, change to ”Before they had sex, he told her that he didn’_t have a condom. She didn't say anything
but began kissing'him."

o Changed
On page 6, change sentence to ”She said she was trying to stop having casual sexual encounters, but she was
fine with everything that happened last night because she liked him so much,"

o Sentence added as a footnote .
Ne)tt paragraph on page 6j instead of saying at the end of the sentence "did other physical activity,” say ”they
kissed"

o Changed
On page 7, instead of the first bullet in the second paragraph which starts out ”Respondent disagrees. . .," write
instead r’While in his room, she never made any statement that she did not want to have sex with him. She did
say that she doesn’t usually have sex with guys when she first meets them_,-but she said it in a way that
suggested that she was interested in having sex with him that night.”

o Changed
On page 8, the second bullet should be deleted and should be replaced with the following statement “Before
they had sex, Respondent told her that he didn't have a condom. She never said that it wasn't ok er that he
should put one on. Rather, she started kissin_g him.”

0 Changed
in the next para-graph, Respondent requests that the following two sentences be removed ”There -wa`sn't any
difference between those two encounters except that she is claiming that the first one was sexual assault Her
level of participation was the same."`

o Deieted
Gn page 13, the Respondent wishes to change the first sentence in the third paragraph under ”Ftespondent and
-Complainant's Response to Witness Statements." l-le isn’t saying that everything she said is untrue, but more

1 .

 

lil.<e the foilowing: ”Fiespondent believes that Complainant’s version that she shared with witnesses gradually
changed over time." 7
o Footnote noting that Respondent believes Complainant's version that she shared with witnesses
' gradually changed over time.
Delete the last sentence in the paragraph about '.
o Deleted _
Delet.e all statements made further from the incident
o These statements will remain in the report. We believe that there may be relevance to the information
thatwas shared with others this semester. T'ne B'oard will determine how much weight to give that
evidence We will note in the report that Respondent believes that statements made closer in time to
that evening are more reflective of what Complainant felt that night

P|ease let me know if you have any questions

Best regards,

La uren

 

Leureri E. Kozak

Title iX Coordinotor and Assisront Director of Coreer Deveiopment
Washington and Lee University

Etrod Commons 307

Lexington, Vlrginia 24450

Phone: 540.45844055

Ernail: koza|-<i@-wiu_edu

 

